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  8                          UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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 11 DORA HUBBARD, an individual,           Case No. 2:21-cv-04472-RGK-KS
 12             Plaintiff,                 [PROPOSED] ORDER GRANTING
                                           STIPULATION RE: DISMISSAL
 13        v.                              WITH PREJUDICE
 14 HARTFORD LIFE AND ACCIDENT             Complaint Filed: April 26, 2021
      INSURANCE COMPANY and                Trial Date:       None Set
 15 DOES 1 through 10,                     District Judge: Hon. R. Gary Klausner
                                           Magistrate Judge: Hon. Karen L. Stevenson
 16
                Defendants.
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                                                           Case No. 2:21-cv-04472-RGK-KS
        [PROPOSED] ORDER GRANTING STIPULATION RE DISMISSAL WITH
                              PREJUDICE
Case 2:21-cv-04472-RGK-KS Document 18 Filed 10/20/21 Page 2 of 2 Page ID #:172
